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10                            UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12   Terry P. Boyd, Ethel Joann Parks, Sonia
13   Medina, Linda Zanko, and Victor Galaz            Case No. SA13-CV-00561 DOC (JPRx)
14   individually, on behalf of others similarly
     situated, and on behalf of the general public,   ORDER AND JUDGMENT
15                                                    GRANTING PLAINTIFFS’ MOTION
                                                      FOR FINAL APPROVAL OF CLASS
16                          Plaintiffs,               ACTION SETTLEMENT [387]
       vs.
17                                                    Date:   January 19, 2016
18   Bank of America Corp.; LandSafe, Inc.;           Time: 8:30 a.m.
     LandSafe Appraisal Services, Inc.; and           Place: Courtroom 9D, Santa Ana
19                                                    Hon. David O. Carter
     DOES 1-10, inclusive
20
21                          Defendants.
22
23           The Parties came for hearing on Plaintiffs’ Motion for Final Approval of Class
24   Action Settlement on January 19, 2016 at 8:30 a.m. in the District Court for the Central
25   District of California, the Honorable David O. Carter presiding. The proposed
26   settlement in this case was preliminarily approved by this Court on September 28,
27   2015. Pursuant to the Court’s Preliminary Approval Order and the Notice provided to
28   the Class, the Court conducted a final fairness hearing as required by Federal Rule of
                                                  1
     ORDER AND JUDGMENT GRANTING MOTION FOR FINAL APPROVAL OF CLASS ACTION
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     Civil Procedure 23(e). The Court has reviewed the materials submitted by the Parties
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     and has heard arguments presented by counsel at the hearing.
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           For the reasons cited herein, the Court hereby grants final approval of the
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     Settlement based upon the terms set forth in the Preliminary Approval Order and the
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     Settlement Agreement filed by the parties. The Settlement appears to be fair, adequate,
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     and reasonable to the Staff Appraiser California and Collective Classes (collectively,
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     the “Settlement Class”).
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           1. Except as otherwise specified herein, for purposes of this Order, the Court
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     adopts and incorporates by reference all defined terms set forth in the Settlement
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     Agreement.
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           2. The Court finds that this Settlement satisfies the requirements for class action
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12   settlement under Rule 23 and further finds that the Settlement Class has at all times

13   been adequately represented by the Named Plaintiffs and Class Counsel.

14         3. The Notice approved by the Court was provided by First Class direct mail to
15   the last-known address of each of the individuals identified as Class Members, after
16   first processing such addresses through the U.S. Postal Service change-of-address
17   database, as stated in the declaration of the Claims Administrator. In addition, follow-
18   up efforts were made to send the Notice to those individuals whose original notices
19   were returned as undeliverable. Efforts were also made to contact Settlement Class
20   Members by telephone and e-mail. Furthermore, a private investigator was engaged to
21   locate two class members with out-of-date contact information. The Notice adequately
22   described all of the relevant and necessary parts of the proposed Settlement Agreement,
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     the request for service payments to the Class Representatives, Class Member
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     Deponents, and Class Member Discovery Respondents, and Class Counsel’s request for
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     an award of attorneys’ fees and costs.
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           4. The Court finds that the Notice given to the Settlement Class fully complied
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     with Rule 23, was the best notice practicable, satisfied all constitutional due process
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                                                2
     ORDER AND JUDGMENT GRANTING MOTION FOR FINAL APPROVAL OF CLASS ACTION
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     concerns, and provides the Court with jurisdiction over the Settlement Class Members.
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           5. The Court has concluded that the Settlement, as set forth in the Settlement
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     Agreement executed by the Parties, is fair, reasonable, and adequate under state and
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     federal laws, including the Fair Labor Standards Act 29 U.S.C. § 201 et seq. The Court
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5    finds that the uncertainty and delay of further litigation support the reasonableness and

6    adequacy of the $36,000,000 Settlement Fund established pursuant to the Settlement

7    Agreement.
8          6. Out of the identified Settlement Class Members, none has objected to any
9    aspect of the proposed Settlement, and none has opted out of the proposed Settlement.
10   The reaction of the Settlement Class to the proposed settlement strongly supports the
11   conclusion that the proposed Settlement is fair, reasonable, and adequate.
12         7. The Settlement is HEREBY APPROVED in its entirety and the releases
13   encompassed therein are effectuated.
14         8. The Settlement Fund shall be dispersed in accordance with the Settlement
15   Agreement as detailed in the Motion for Preliminary Approval of Class Action
16
     Settlement, granted on September 28, 2015.
17
           9. Representative Plaintiffs Terry Boyd, Ethel Joann Parks, Sonia Medina, and
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     Linda Zanko are each hereby awarded $25,000 for their time and effort in pursuing this
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     litigation, and in recognition of the broader releases they have signed and the hardships
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     they faced in representing the class.
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           10. Class Member Deponents, as that term is defined in the Settlement
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     Agreement, are each hereby awarded $2,000 for their time and effort in providing
23
24   deposition testimony in support of the class claims.

25         11. Class Member Discovery Respondents, as that term is defined in the Staff
26   Appraiser Settlement Agreement, are each hereby awarded $1,000 for their time and
27   effort in providing document and interrogatory discovery responses in support of the
28   class claims.
                                                 3
     ORDER AND JUDGMENT GRANTING MOTION FOR FINAL APPROVAL OF CLASS ACTION
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           12. Plaintiffs’ application for Attorneys’ fees in the amount of $12,000,000 and
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     reimbursement of litigation costs in the amount of $175,528.54 is hereby granted in
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     accordance with Staton v. Boeing Co., 327 F.3d 938, 967 (9th Cir. 2003), and Boeing
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     Co. v. Van Gemert, 444 U.S. 472, 478 (1980). In addition, the Court finds that the fee
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5    rates set forth in Plaintiffs’ application for Attorneys’ fees are fair and reasonable. See

6    ECF Nos. 380-1 and 381-1. Further, the Court approves payment of $19,608.88 for the

7    Settlement Administrator, Kurtzman Carson Consultants LLC.
8          13. The Court approves the cy pres recipient identified in the Settlement: Legal
9    Aid Society-Employment Law Center, which meets the test under Dennis v. Kellogg
10   Co., 697 F.3d 858, 865 (9th Cir. 2013) that “there be a driving nexus between the
11   plaintiff class and the cy pres beneficiaries.”
12         14. The Court finds and determines that payment to the California Labor and
13   Workforce Development Agency of $75,000 as its share of the settlement of civil
14   penalties under the Private Attorney General Act in this case is fair, reasonable, and
15   appropriate. The Court hereby gives final approval to and orders that the payment of
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     that amount be paid out of the Settlement Fund in accordance with the Settlement
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     Agreement.
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           15. Neither this Order nor the Settlement Agreement constitutes an admission or
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     concession by any of the released parties of any fault, omission, liability or
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     wrongdoing. This order is not a finding of the validity or invalidity of any claims in this
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     action or a determination of any wrongdoing by the Defendants. The final approval of
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     the Settlement Agreement does not constitute any opinion, position, or determination of
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24   this Court, one way or the other, as to the merits of the claims and defenses of

25   Plaintiffs, Defendants, or the Class Members.
26         16. The Court hereby enters Judgment approving the terms of the Settlement.
27   This document shall constitute a final judgment with respect to the Claims of the
28   Settlement Class for purposes of Rule 58 of the Federal Rules of Civil Procedure, and
                                                   4
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     the Settlement Class Members are barred and permanently enjoined from initiating or
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     prosecuting the Released Claims as defined in the Agreement.
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     The claims of the Settlement Class Members are hereby DISMISSED WITH
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     PREJUDICE, with each party to bear his, her, or its own costs, except as set forth
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5    herein, and with this Court retaining exclusive jurisdiction to enforce the Settlement

6    Agreement, including jurisdiction over the disbursement of the Settlement Fund.

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8    IT IS SO ORDERED
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10   DATED: January 19, 2016
                                                   ___________________________
11                                                 HON. DAVID O. CARTER
12                                                 UNITED STATES DISTRICT COURT
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     ORDER AND JUDGMENT GRANTING MOTION FOR FINAL APPROVAL OF CLASS ACTION
                       SETTLEMENT; 13-CV-00561 DOC (JPRx)
